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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

BARBARA J. LEE, et. al.,                       )
                                               )
                 Plaintiffs,                   )          Case No. 21-cv-00400-APM
                                               )         The Honorable Amit P. Mehta
                     v.                        )
                                               )
DONALD J. TRUMP, et. al.,                      )
                                               )
                Defendants.                    )
                                               )
                                               )
CONRAD SMITH, et al.,                          )
                                               )          Case No. 21-cv-02265-APM
                 Plaintiffs,                   )         The Honorable Amit P. Mehta
                                               )
                     v.                        )
                                               )
DONALD J. TRUMP, et al.,                       )
                                               )
                Defendants.                    )
                                               )

    MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT KELLY MEGGS

       Pursuant to the Model Rules of Professional Conduct (“MRCP”) Rule 1.16(b) and the

District of Columbia Rules of Professional Conduct Rule 1.16(b), counsel for Defendant Kelly

Meggs, Stanley E. Woodward, Jr. and Mark P. Nobile, move to withdraw their appearances in this

matter and terminate their representation of Mr. Meggs in this matter. Mr. Woodward has

consulted with Mr. Meggs, who understands the potential consequences of this motion and

approves of their withdrawal as counsel in this matter. The law firm Brand Woodward Law, LP,

the firm where both Mr. Woodward and Mr. Nobile practice law, is dissolving for reasons which

will be discussed below.

       The operative rules state that counsel may withdraw from representation if any one of seven

categories are met. See D.C. Rules of Professional Conduct 1.16(b)(1)-(7). For this matter,
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categories (1) and (7) are met. First, withdrawal can be accomplished without material adverse

effect on the interests of the client.       See id. at 1.16(b)(1). The procedural posture of this case

allows any new counsel to transition into representation on this matter with little issue: this case

remains focused primarily upon discovery and briefing on the presidential immunity issue, which

the parties estimate will not be complete before April 11, 2025 and is likely to require follow up

on this matter.       See Joint Statement Regarding Proposed Briefing Schedule for Further

Proceedings, at 3 (Dec. 20, 2024) (ECF No. 356). The immunity discovery proceedings do not

involve Mr. Meggs in any way. Further, this case is not yet scheduled for trial.

        Other good cause to grant the motion exists. See D.C. Rules of Professional Conduct Rule

1.16(b)(7). For the Court’s awareness, President-elect Donald J. Trump has announced that he

intends to appoint Mr. Woodward to serve as Assistant to the President and Senior Counselor in

the upcoming presidential administration. 1 Relevant statutes and case law state that a presidential

appointee must prioritize a smooth transition into such role, including taking the “appropriate

actions” to “avoid or minimize any disruptions” to the presidential transition. 3 U.S.C. 102 note,

§ 2; see also United States v. Cisneros, 169 F.3d 763, 764 (1999) (citing U.S. CONST. amend.

XX, § 1) (“For a smooth transition, the selection of potential nominees, the investigations of their

backgrounds, and the adjudications of their security clearances must begin well before the

President takes the oath on January 20th.”) (emphasis added). Mr. Woodward’s unique situation

and the necessity to prioritize important federal functions serve as further good cause for this Court

to grant the instant motion and allow Mr. Woodward to withdraw as counsel for Mr. Meggs in this

matter. 2


1
  Statement of President Donald J. Trump, Trump Vance 2025 Transition, Inc. (Jan. 4, 2025),
https://www.trumpvancetransition.com/s/trump-announces-additional-wh-staff-.
2
  Although Mr. Nobile is not joining President-elect Donald J. Trump’s administration, Mr. Nobile should be allowed
to withdraw as counsel for Mr. Meggs because of Mr. Woodward’s departure and the dissolution of Brand Woodward

                                                        2
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                                                 CONCLUSION

         For the reasons contained herein, Mr. Meggs respectfully requests that this Court grant Mr.

Woodward’s and Mr. Nobile’s Motion to Withdraw from representation in this matter.


 Dated: January 20, 2025                            Respectfully submitted,

                                                    s/ Stanley E. Woodward, Jr.
                                                    Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                                    BRAND WOODWARD LAW, LP
                                                    400 Fifth Street, Northwest, Suite 350
                                                    Washington, DC 20001
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                                                    202-996-0113 (facsimile)
                                                    Stanley@BrandWoodwardLaw.com

                                                    Counsel for Defendant Kelly Meggs




Law, LP. Mr. Nobile is joining a firm in Maryland and transitioning to a role focusing almost exclusively on
commercial litigation. Mr. Meggs’s representation in this matter, the related District of Columbia v. Proud Boys matter,
and his related criminal proceedings were all almost exclusively handled by Mr. Woodward. Mr. Nobile’s participation
in this case and the related District of Columbia v. Proud Boys was limited to appearing at virtual status conferences
and relaying details to Mr. Woodward. Further, Mr. Meggs will have the opportunity to consult with Mr. Nobile’s
new law firm and to have Mr. Nobile continue representing Mr. Meggs in this matter, should Mr. Meggs so choose.

                                                           3
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on Monday, January 20, 2025, a true and correct copy was

electronically filed through the CM/ECF system, which also transmitted a true and correct service

copy of the foregoing motion upon all counsel of record in the instant case. I further certify that a

true and correct copy was transmitted to Defendant Kelly Meggs, who is incarcerated at FCI

Memphis.



                                                      s/ Stanley E. Woodward, Jr.
                                                      Stanley E. Woodward, Jr.




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